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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                  March 29, 2016
                   IN THE UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-14-124-3
                                            §
                                            §
                                            §
DEBBIE MOYA MARTINEZ                        §


                                       ORDER

       The defendant filed an unopposed motion to extend the deadlines to file objection to

the presentence report and for a continuance of the sentencing hearing, (Docket Entry No.

196). The motion is GRANTED. Objections to the presentence report are due by May 23,

2016. The sentencing hearing is reset to June 7, 2016 at 9:00 a.m.

             SIGNED on March 29, 2016, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
